       Case 3:23-cv-24629-MCR-ZCB Document 1 Filed 10/09/23 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION

 LAURIE DARMOFAL,                                      )
                                                       )
        Plaintiff,                                     )     Case: 3:23-cv-24629
                                                       )
        v.                                             )
                                                       )
 GULF COAST CHILDREN’S ADVOCACY                        )
 CENTER,                                               )
                                                       )     Jury Trial Demanded
        Defendant.                                     )


                                         COMPLAINT

       Plaintiff, Laurie Darmofal (“Plaintiff”), by and through the undersigned counsel, hereby

files this Complaint against Gulf Coast Children’s Advocacy Center (“Defendant”), and in

support states as follows:

                             NATURE OF PLAINTIFF’S CLAIMS

       1.    This lawsuit arises under the Age Discrimination in Employment Act of 1967, as

amended, 29 U.S.C. §621, et seq. (“ADEA”) seeking redress for Defendant’s discrimination on

the basis of Plaintiff’s age, Defendant’s age-based harassment, and Defendant’s retaliation against

Plaintiff for engaging in a protected activity under the ADEA.

                                JURISDICTION AND VENUE

       2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331. This action

is authorized and instituted pursuant to the Age Discrimination in Employment Act of 1967, as

amended, 29 U.S.C. §621, et seq.

       3.      Venue of this action properly lies in the Northern District of Florida pursuant to

28 U.S.C. §1391(b) insofar as Defendant operates and transacts business in this judicial district
        Case 3:23-cv-24629-MCR-ZCB Document 1 Filed 10/09/23 Page 2 of 8




and the events giving rise to Plaintiff’s claims occurred within this District.

                           ADMINISTRATIVE PREREQUISITES

        4.     All conditions precedent to jurisdiction under the Age Discrimination in

Employment Act of 1967, as amended, 29 U.S.C. §621, et seq., have occurred or been complied

with.

        5.     A charge of employment discrimination on basis of age and retaliatory discharge

was filed by the Plaintiff with the Equal Employment Opportunity Commission (“EEOC”) and the

(attached hereto as Exhibit “A”).

        6.     At least sixty (60) days have lapsed since the filing of Plaintiff’s charge of

employment discrimination with the EEOC thus giving Plaintiff right to sue under the ADEA.

                                            PARTIES

        7.     At all times material to the allegations of this Complaint, Plaintiff, Laurie Darmofal

resided in Santa Rosa County in the State of Florida.

        8.     At all times material to the allegations in this Complaint, Defendant, Gulf Coast

Children’s Advocacy Center was a not for profit corporation doing business in and for Escambia

County whose address principal address is 210 E. 11th Street, Panama City, Florida 32401.

        9.     Plaintiff was employed by Defendant as an “employee” within the meaning of

ADEA, 29 U.S.C. §631.

        10.    During the applicable limitations period, Defendant has had at least twenty

employees, has been an “employer” as defined by ADEA 29 U.S.C. §631, and has been engaged

in an industry affecting commerce within the meaning of 42 U.S.C. §12111(5)(A).

                                    BACKGROUND FACTS

        11.     Plaintiff worked for Defendant at its Pensacola, Florida location as a Program


                                                  2
       Case 3:23-cv-24629-MCR-ZCB Document 1 Filed 10/09/23 Page 3 of 8




Coordinator from September 2022 until her unlawful termination on or around June 2023.

       12.     Plaintiff is 50 years old and is a member of a protected class because of Plaintiff’s

age.

       13.     Since at least September 2022 through June 2023, Defendant has subjected Plaintiff

to different terms and conditions of employment than others not within Plaintiff’s protected class

and has been subjected to a hostile work environment on the basis of age in violation of the ADEA.

       14.     The qualifications for Program Coordinator include but are not limited to:

overseeing child abuse and neglect prevention programming, teaching mandated reporter trainings,

and providing resources to child victims of abuse and their families.

       15.     Plaintiff met or exceeded Defendant’s performance expectations during the entire

duration of Plaintiff’s employment

       16.     On or around October of 2022, Plaintiff’s co-worker, Allie began mocking

Plaintiff’s colleague, Daphne who is in her 50’s, for Daphne’s age.

       17.     Allie continued to make derogatory comments regarding Daphne’s age and her

Facebook profile—making Plaintiff extremely uncomfortable as Daphne and the Plaintiff are

around the same age.

       18.     On or around January of 2023, shortly after the Plaintiff’s 50th birthday, Plaintiff’s

subordinate, Whitney asked Plaintiff “Can we use your AARP discount?”

       19.     Both Whitney and Allie burst into laughter.

       20.     Both Allie and Whitney also frequently referred to Plaintiff as “mom” furthering

the Plaintiff’s discomfort in the workplace.

       21.     Towards the end of January 2023, Defendant’s Executive Director told Plaintiff

that she needed to “figure out how to work with the younger generations,” implying that Plaintiff


                                                 3
       Case 3:23-cv-24629-MCR-ZCB Document 1 Filed 10/09/23 Page 4 of 8




should accept the age based harassment, and demonstrating a preference for younger employees.

       22.      On or around April of 2023, Plaintiff spoke with Defendant’s Human Resources

Representative and the Executive Director to complain about the age-based discrimination and/or

harassment she was experiencing at work emphasizing Plaintiff felt targeted because of her age.

       23.      Plaintiff provided the Chief Operations Manager with specific examples of

Plaintiff’s age-based discrimination and/or harassment particularly from Allie, to which he

dismissively replied “That’s just her generation, you’ll have to get used to it.”

       24.      In May of 2023, plaintiff lodged a formal complaint about the discrimination

and/or harassment she was experiencing.

       25.      Shortly thereafter, in June of 2023, HR representative approached Plaintiff stating

her intention to discuss Plaintiff’s “deficiencies” and initiate a corrective action plan.

       26.      During this interaction, the HR representative admitted that it appeared like

retaliation for Plaintiff reporting age based harassment.

       27.      Plaintiff’s alleged “deficiencies” were never mentioned to her until after she filed

a formal complaint regarding the age-based discrimination and/or harassment.

       28.      The HR representative informed Plaintiff that Plaintiff could either be written up

for an infraction the Plaintiff did not commit or resign from her position.

       29.      Plaintiff was made to feel like she had no choice but to resign or continue being

harassed and discriminated against for her age.

       30.      Plaintiff was unlawfully constructively terminated because of Plaintiff’s age (50)

in June 2023.

       31.      Plaintiff was retaliated against and Plaintiff’s employment was ultimately


                                                  4
        Case 3:23-cv-24629-MCR-ZCB Document 1 Filed 10/09/23 Page 5 of 8




terminated for opposing unlawful discrimination and for exercising Plaintiff’s protected rights.

        32.        Plaintiff can show that Plaintiff engaged in statutorily protected activity—a

necessary component of Plaintiff’s retaliation claim—because Plaintiff lodged complaints directly

to the Executive Director and HR representative.

        33.        Plaintiff was targeted for constructive termination because of Plaintiff’s age and

reporting of age based harassment.

        34.        Plaintiff suffered multiple adverse employment actions including, but not limited

to being subjected to a hostile work environment, and constructive termination.

                                              COUNT I
                       Violation of the Age Discrimination in Employment Act
                                      (Age-Based Discrimination)

        35.        Plaintiff repeats and re-alleges paragraphs 1-34 as if fully stated herein.

        36.        By virtue of the conduct alleged herein, Defendant intentionally discriminated

against Plaintiff based of Plaintiff’s age, in violation of the Age Discrimination in Employment

Act of 1967, as amended, 29 U.S.C. §621, et seq.

        37.        Plaintiff is a member of a protected class under the ADEA due to Plaintiff’s age

(50).

        38.        Plaintiff met or exceeded performance expectations.

        39.        Plaintiff was treated less favorably than similarly situated employees outside of

Plaintiff’s protected class (employees younger than Plaintiff).

        40.        Defendant constructively terminated Plaintiff’s employment on the basis of

Plaintiff’s age.

        41.        Defendant acted in willful and/or reckless disregard of Plaintiff’s protected rights.

        42.        As a direct and proximate result of the discrimination described above, Plaintiff

                                                     5
       Case 3:23-cv-24629-MCR-ZCB Document 1 Filed 10/09/23 Page 6 of 8




has suffered and continues to suffer loss of employment, loss of income, loss of employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation, and loss

of enjoyment of life.

                                          COUNT II
                        Violation of the Americans with Disabilities Act
                                   (Age-Based Harassment)

       43.     Plaintiff repeats and re-alleges paragraphs 1-34 as if fully stated herein.

       44.     By virtue of the conduct alleged herein, Defendant engaged in unlawful

employment practices and harassed Plaintiff on the basis of Plaintiff’s age, in violation of the Age

Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §621, et seq.

       45.     Plaintiff is a member of a protected class under the Americans with Disabilities Act

of 1990, as amended, 42 U.S.C. §12101 et seq. due to Plaintiff’s age.

       46.     Defendant knew or should have known of the harassment.

       47.     The age-based harassment was severe or pervasive.

       48.     The age-based harassment was offensive subjectively and objectively.

       49.     The age-based harassment was unwelcomed.

       50.     Defendant acted in willful and/or reckless disregard of Plaintiff’s protected rights.

       51.     As a direct and proximate result of the harassment described above, Plaintiff has

suffered and continues to suffer loss of employment, loss of income, loss of other employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation, and loss of

enjoyment of life.

                                            COUNT III
                     Violation of the Age Discrimination in Employment Act
                                           (Retaliation)

       52.     Plaintiff repeats and re-alleges paragraphs 1-34 as if fully stated herein.



                                                 6
       Case 3:23-cv-24629-MCR-ZCB Document 1 Filed 10/09/23 Page 7 of 8




       53.     Plaintiff is a member of a protected class under Age Discrimination in Employment

Act of 1967, as amended, 29 U.S.C. §621, et seq.

       54.     During Plaintiff’s employment with Defendant, Plaintiff reasonably complained to

Defendant about age-based harassment and/or discrimination.

       55.     As such, Plaintiff engaged in protected conduct and was protected against unlawful

retaliation by Defendant under the Age Discrimination in Employment Act of 1967, as amended,

29 U.S.C. §621, et seq.

       56.     In response to Plaintiff’s complaint, Defendant failed to conduct a prompt, thorough

and objective investigation of Plaintiff’s complaint of age discrimination.

       57.     Defendant also failed to take necessary precautions to prevent further recurrences

of the discriminatory and harassing conduct complained of by Plaintiff.

       58.     Plaintiff suffered adverse employment action in retaliation for engaging in a

protected activity.

       59.     By virtue of the foregoing, Defendant retaliated against Plaintiff based on reporting

the age-based harassment and/or discrimination, thereby violating the Age Discrimination in

Employment Act of 1967, as amended, 29 U.S.C. §621, et seq.

       60.     Defendant acted in willful and/or reckless disregard of Plaintiff’s protected rights.

       61.     As a direct and proximate result of the retaliation described above, Plaintiff has

suffered and continues to suffer loss of employment, loss of income, loss of other employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation, and loss of

enjoyment of life.

                                      RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court find in Plaintiff’s



                                                 7
       Case 3:23-cv-24629-MCR-ZCB Document 1 Filed 10/09/23 Page 8 of 8




favor and against Defendant as follows:

              a.      Back pay with interest;

              b.      Payment of interest on all back pay recoverable;

              c.      Front pay;

              d.      Loss of benefits;

              e.      Liquidated damages;

              f.      Reasonable attorneys’ fees and costs;

              g.      Award pre-judgment interest if applicable; and

              h.      Award Plaintiff any and all other such relief as the Court deems just and

                      proper.

                                DEMAND FOR JURY TRIAL

        Plaintiff hereby requests that all issues be submitted to and determined by a jury.

Dated this 9th day of October, 2023.



                                             /s/ Travis P. Lampert ______
                                             TRAVIS P. LAMPERT, ESQ.
                                             FL Bar No.: 99843
                                             SULAIMAN LAW GROUP LTD.
                                             2500 S. Highland Avenue, Suite 200
                                             Lombard, Illinois 60148
                                             Phone (630) 581-5456
                                             Fax (630) 575-8188
                                             tlampert@sulaimanlaw.com
                                             Attorney for Plaintiff




                                                8
